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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION


ALBON C. DIAMOND, III,

      Petitioner,

v.                                           CASE NO. 3:19cv2929-MCR-MAF

SECRETARY, DEPARTMENT
OF CORRECTIONS,

     Respondent.
________________________              __/

                                    ORDER

      This cause comes on for consideration upon the United States Magistrate

Judge’s Report and Recommendation dated July 2, 2020. ECF No. 23. The parties

have been furnished a copy of the Report and Recommendation and have been

afforded an opportunity to file objections pursuant to 28 U.S.C. § 636(b)(1). I have

made a de novo determination of any timely filed objections.

      Having fully considered the Report and Recommendation and any timely filed

objections thereto, I have determined that the Report and Recommendation should

be adopted.

      Accordingly, it is now ORDERED as follows:

      1.      The Magistrate Judge’s Report and Recommendation, ECF No. 23, is

adopted and incorporated by reference in this Order.
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       2.     Respondent’s motion to dismiss, ECF No. 14, is GRANTED.

       3.     Petitioner’s petition pursuant to 28 U.S.C. § 2254, ECF No. 1, is

DISMISSED with prejudice as untimely filed under 28 U.S.C. § 2244.

       4.     A Certificate of Appealability is DENIED.

       5.     The clerk of court is directed to close this case file.

       DONE AND ORDERED this 4th day of August 2020.




                                          s/ M. Casey Rodgers
                                         M. CASEY RODGERS
                                         UNITED STATES DISTRICT JUDGE




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